

420 E. 80th LLC v Coles (2025 NY Slip Op 50767(U))



[*1]


420 E. 80th LLC v Coles


2025 NY Slip Op 50767(U)


Decided on May 15, 2025


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on May 15, 2025
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Tisch, James, JJ.



570229/25

420 East 80th LLC, Petitioner-Appellant,
againstAllison Coles, Respondent-Respondent, and "John Doe" and "Jane Doe," Respondents.




Petitioner-appellant appeals from an order of the Civil Court of the City of New York, New York County (Ilana J. Marcus, J.), entered May 16, 2023, which granted respondent Allison Coles's motion to vacate a stipulation of settlement in a holdover summary proceeding.




Per Curiam.
Order (Ilana J. Marcus, J.), entered May 16, 2023, affirmed, with $10 costs.
Civil Court properly exercised its discretion to vacate the so-ordered stipulation entered into by the then-pro se respondent Allison Coles in this "commercial" holdover proceeding relating to a parking space in petitioner's residential apartment building. Although stipulations of settlement are judicially favored and not lightly cast aside (Hallock v State of New York, 64 NY2d 224 [1984]), the court possesses the discretionary authority to relieve parties from the consequences of a stipulation "if it appears that the stipulation was entered into inadvisedly or that it would be inequitable to hold the parties to it" (1420 Concourse Corp. v Cruz, 135 AD2d 371, 373 [1987], appeal dismissed 73 NY2d 868 [1989], citing Matter of Frutiger, 29 NY2d 143, 150 [1971]).
In this case, respondent Coles, now represented by counsel, demonstrated potentially meritorious defenses to this proceeding, including that the parking space at issue may be an ancillary service provided to her deceased uncle's rent-stabilization tenancy for which she intends to claim succession (see Royal Terrace Assoc. LP v Singh, 39 Misc 3d 135[A], 2013 NY Slip Op 50582[U] [App Term, 1st Dept 2013]) and whether the deceased tenant's estate should have been named as a necessary party since his last lease renewal had not yet expired (see Joint Props. Owners v Deri, 113 AD2d 691 [1986]). These defenses should not be deemed forfeited by respondent's uncounseled decision to consent to judgment (see Tabak Assoc., LLC v Vargas, 48 Misc 3d 143[A], 2015 NY Slip Op 51314[U] [App Term, 1st Dept 2015]).
In affirming the court's discretionary determination, we express no view as to the ultimate [*2]outcome of the proceeding.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: May 15, 2025







